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EXHIBIT A
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WR Grace sR00000s79
UTA UNIT TSUN Bankruptey Form 10
Index Sheet
Claim Number. 00009634 Receive Date: 03/28/2003
Multiple Claim Reference
Claim Number [_] ™mmPpoc Medical Monitoring Claim Form
[_] PpPoc Property Damage
[_] NAPO Non-Asbestos Claim Form
[J Amended
Claim Number [_] MMPoc Medical Monitoring Claim Form
{["] PDPOC Property Damage
[.] NAPO Non-Asbestos Claim Form
Cc] Amended
Attorney Information
Firm Number: 00336 Firm Name: Us Dept of Justice
Attorney Number: 00212 Attorney Name: James D Freeman
Zip Code: 80202-2449
Cover Letter Location Number: SR00000579
Attachments Attachments Non-Asbestos
Medical Monitoring Property Damage
[-] TBD [-] TBD JX] Other Attachments
{_] TBD [_] TBD
[_] Ted [|] TBD
C] TBD [] Tap
C] TBD [-] TBD
[_] Other Attachments
Other [.] Non-Standard Form
["] Amended
["] Post-Deadline Postmark Date

i Box/Batch: WRBFOO40/WRBFO158

Document Number: WRBF007853 wi
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UNITED STaTEs BANKRUPTCY Court For THE District oF Delaware GRACE NON-ASBESTOS
PROOF OF CLAIM FORM

Name of Debtor:' W.R. Grace & Co. ~ Com. Case Number 01-1179

NOTE: Do aot use this form to assert an Asbestos Personal Injury Cisim. a Settled Asbestos Claim or s Zonolite Attic

lisulation Clalme. Those claims will be subject to & separate claims submission process. This form should also pot be used

to file a claim for am Asbestos Property Damage Claira or Medical Monitoring Ctalm. A specialized proof of claim form for
each of shese claims should be filed.

Name of Creditor (The person or other entity to whom the Debtor O check bes if you are aware that anyone
owes money or property): on aca orretaeee Thus SPAce. is FOR COUNT USE OMY
i soving petticulers.
United States of America CD cecct ban you have sever received aay
notices froma the bankruptcy court in this

Name and address where notices should be sent:

James D. Freeman, Esq. g Cec tonite sea ie om

U.S. Dept. of Justice; Env. Enforcement Section»

999 18th Street, Suite 945, North Tower
202=2449

Account or other number by which creditor identifies Debtor: Chock bere CF repteces
itis claim C] amends a previously filed claim, dated:
DJ Case No. 90-11-2-07106/5

Corporate Name, Common Name, and/or d/b/a name of specific Debtor against whom the claim is asserted:
W.R. Grace & Co, — Conn

1. Basis for Claiss GO Retiree benefits as defined in [1 U.S.C, § I114{a)
DO Goods sold © Wages, salaries, and compensation (fill out below)
O Services performed
J Environmenia) liability Your SS #:
© Money loaned Unpaid compensation for services performed
O Non-asbestos personal injuryAvrongful death from to (date)
O Taxes
O Other.
2, Date debt wasinewred; Goa Attached | 3._ I court judgment, date obtained: G44 Attached
4. Total Amount of Claim at Time Case Filed: See Att ached $
Uf all or past of your clair is secured or enstled to pronty, also comple (tem $ below. To be provided

FE Check this bas if claim includes interest or other charges wn mdditron io the priscwpal amount of ube eleite, Antach itemized statement of all interest or sdditional charges. upon request

5. Classificution of Claim. Under the Bankraptcy Code all claims are classified as one or more of the following: (1) Unsecured Nonpriority, (2) Unsecured
Priority, (3) Secured. It is possible for part of « claims to be in one category mod part in another. CHECK THE APPROPRIATE BOX OR BOXES that best
describe your claim and STATE THE AMOUNT OF THE CLAIM AT TIME CASE FILED.

G SECURED CLAIM (check this box if your claim is secured by collateral, including .O UNSECURED PRIORITY CLAIM - Specify the priority of the claim.
a right of setoff.)
O Wages, sataries, or corunissions (up to $4650), earned nol more than
Brief Description of Collaerl: See Attached 90 days before filing of the baniauptcy petition or cessation of the
debtor's business, whichever is earlier - 11 U.S.C. § 507(aX3).
O Real Estate © Other (Describe brefly)
© Contributions to an employee benefit plan - 11 U.S.C. § $07(aX4).
Amount of and other charges at time case filed included in secured O Taxes or penalties of governmental units - 11 U.S.C. § $07(aX7).
claim above, if my: se
Attach evi of perfection of wey i Q Other - Specify applicable paragraph of 1! U.S.C. § 507(af )
© UNSECURED NONPRIORITY CLAIM See Attached
A claim is unsecured if there is no collateral or lien on property of the
debtor securing the claim or to the extent that the value of such
property is less than the amount of the claim,
6. Credits: The amount of all payments on this claim has been credited and deducted for the purpose of making this proof of claim. This Space is for Coun Use Only
7, Supporting Documents: i upporti such s$ promissory notes, purchase orders, i invoices, itemized
of jud Yy agr and evidence of perfeetion of lien.
DO NOT SEND ORGINAL DOCUMENTS. If the d 5 are not available, plain. If the d are
attach a summary.
8. Acknowledgement: Upon receipt and processing of this Proofof Claim, you will receive an ach card indi
the date of filing and your unique elsin number. If you want a file sumped copy of the Proof of Claim form itself, enclose aself
is proof _ofclaim form. WR Gra
Sign and print tes name and Ute, ifeny, of the creditor or other person suthonsed to file this claim (anach copy of power of atomey. if any): ce F.40, 158.7853
James D. Freeman, Esq. SR=579 ooc0ges4

TNA _\> aha Boron) Trial Attorney
NI] Y RECD MAR 2 8 2003

See General Instructions and Claims Bar Date Notice and its exhibits for names of all Debtors and “other names“ used by the Debtors.

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SPECIFIC INSTRUCTIONS FOR COMPLETING
GRACE NON-ASBESTOS PROOF OF CLAIM FORMS

The instructions and definitions below are general explanations of the law. In particular types of cases or circumstances, there may be exceptions to these general
rules,

This Proof of Claim form is for Creditors who have Noo-Asb Cialis against sny of the Debtors. Non-Asbestos Claims are any claims against the Debtors as of
time immediately preceding the commencement of the Chapter 11 cases on April 2, 2001 other than Asbestos Personal Injury Claims, Asbestos Property Damage
Claims, Zonolite Attic Insulation Claims, Settled Asb Claims or Medical Monitoring Clairns, as defined on the enclosed General Instructions. More specifically,
Non-Asbestos Claims are those claims against one or more of the Debtors, whether in the nature of or sounding in tort, contract, warranty or any other theory of law or
equity for, relating to or arising by reason of, directly or indirectly, any injury, damage or economic loss caused or allegedly caused directly or indirectly by any of the
Debtors of any products or materials manufactured, sold, supplied, produced, specified, selected, distributed or in any way marketed by one or more of the Debtors and
arising or allegedly arising directly ar indirectly, from acts or omissions of one or more of the Debtors, including, but not limited to, all claims, debts, obligations or
liabitities for compensatory and punitive damages.

Administrative Expenses: Those claims for, among other things, the actual, necessary costs and expenses of preserving the estate as defined in Section 503 of the
Baniauptey Cade that arose after the commencement of the case. A request for payment of an administrative expense may be filed pursuant to Section 503 of the
Bankruptcy Code. This form should not be used to make a claim for an administrative expense. .

Secured Clalm: A claim is a secured claim to the extent that the creditor has a lien on property of the debtor (collateral) that gives the creditor the right to be paid from
that property before creditors who do not have liens on the property. Examples of liens are a mortgage on real estate and a security interest in a car, truck, boat,
television set, or other itemn of property. A lien may have been obtained through a court proceeding before the bankruptcy case began; in some states a court judgment
is alien. in addition, to the extent a creditor also owes money to the debtor (has a right to setoff), the creditor's claim may be a secured claim. (See also Unsecured

Claim.)

Unsecured Claim: (faclaim is nota secured claim, it is an dclaim. U; d claims are those claims for which a créditor has no lien on the debtor's
property or the property on which a creditor has lien is not worth enough to pay the creditor in full.

Unsecured Nonpriority Claim: Certain types of unsecured claums are given priority, so they are to be paid in bankruptcy cases before most other unsecured claims (if
there is sufficient money ot property available to pay these claims). The most common types of priority claims are listed on the proof of claim form. Unsecured claims
that are not specifically given priority status by the bankruptcy laws are classified as Unsecured Nonpriority Claims.

Information about Creditor; Complete this section giving the name, address, and telephone number of the creditor to whom the debtor owes money or property, and
the debtor's account number, ifany. Ifanyone else has already filed a proof of claim relating to this debt, if you never received notices from the court which sent
notice, or if this proof of claim replaces or amends a proof of claim that was slready filed, check the appropriate box on the form.

1. Basis for Clsim: Check the type of debt for which the proof of claim is being filed. If the type of debt is not listed, check “Other” and briefly describe the
type of debt. If you were an employee of the debtor, fill in your social security number and the dates of work for which you were not paid.

2. Date Debt Incurred: Fill in the date the det: was first owed by the debtor,

3 Court Judgments: If you have a court judgment for this debt, state the date the court entered the judgment.

4. Amount of Claim: Insert the amount of claim at the Gme the case was filed in the appropriate box based on your selected Classification of Claim in item 5,
If interest or other charges in addition to the principal amount of the claim are included, check the appropriate place on the form and attach an itemization of
the interest and charges,

5. Classification of Claim: Check either Secured, Unsecured Nonpriority or Unsecured Priority as appropriate. (See Definitions above.)

Unsecured Priority Claim: Check the appropriate place if you have an unsecured priority claim, and state the amount entitled to priority. (See
Definitions, above). A claim may be partly priority and partly nonprionity if, for example, the claim is for more than the amount given priority by
the law. Check the appropriate place to specify the type of priority claim.

6. Credits: By signing this proof of claim, you are stating under oath that in calculating the amount of your claim, you have given the debtor credit for all
payments received from the debtor.
7 Supporting Documents: You must attach to this proof of claim form, copies of documents that show the debtor owes the debt claimed or, if the documents

are too lengthy, a summary of those documents. If documents are not available, you must attach an explanation of why they are not aveilable.

Be sure to date the claim and place original signature of cli orp king claim for creditor where indicated at the bottom of the claim form. Please ype
or print name of individual under the signature. Be sure all items are answered on the claim form, If not applicable, Insert “Not Applicable”.

RETURN CLAIM FORM (WITH ATTACHMENTS, IF ANY) TO THE FOLLOWING CLAIMS AGENT FOR THE DEBTORS:

Claims Processing Agent
Re: W. R. Grace & Co. Bankruptcy
P.O. Box 1620
. Faribault, MN 55021 -1620
‘The Bar Date for filing all NON-ASBESTOS CLAIMS against the Debtors (s March 31, 2003 at 4:00 p.m. Eastern Time.
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re:

)
)
)
W.R. GRACE & CO.- CONN., ) Case No. 01-1179 (JFK)
)
Debtor. )

)

PROOF OF CLAIM OF THE UNITED STATES ON BEHALF OF
THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY, THE UNITED
STATES DEPARTMENT OF AGRICULTURE FOREST SERVICE AND THE ARMY
CORPS OF ENGINEERS

This Proof of Claim is filed by the Attorney General of the United States at the request of
the United States Environmental Protection Agency (“EPA”), the United States Department of
Agriculture Forest Service (the “Forest Service”), and the Army Corps of Engineers. The
Attorney General is authorized to make this Proof of Claim on behalf of the United States. This
Proof of Claim asserts claims against the Debtor in connection with environmental
contamination at various sites.

1, Blackburn & Union Privileges Site (Walpole, Massachusetts): The Debtor is
liable to the United States pursuant to the Comprehensive Environmental Response,
Compensation and Liability Act (“CERCLA”), 42 U.S.C. §§ 9601- 9675, and administrative
orders issued pursuant to CERCLA in connection with the cleanup of environmental
contamination at the Blackburn & Union Privileges Superfind Site (also known as the South
Street Site) in Walpole, Massachusetts. Industrial operations have been located at the site for
many years. There have been releases or threatened releases of hazardous substances at the site,

as soils, sediments, and groundwater are contaminated with inorganic chemicals, including

asbestos, lead, arsenic, and nickle, volatile organic compounds (“VOCs”) and semi-volatile
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organic compounds. The site is on the National Priorities List established pursuant to Section
105 of CERCLA, 42 U.S.C. § 9605 (“NPL”). The Debtor is liable to the United States because
it owned and operated a facility on the site at the time hazardous substances were disposed of.
The Debtor is a party to several administrative orders EPA has issued in connection with the site,
including a September 1999 administrative order on consent in which the Debtor and one other
PRP agreed to perform the remedial investigation/feasibility study (“RI/FS”) for the site and to
pay for EPA’s oversight of such work. When the Debtor filed for bankruptcy, it stopped
performing work under the RI/FS order. Under the terms of the RI/FS order, the Debtor
established a letter of credit in the amount of $800,000 to pay for EPA’s oversight costs. In July
2002, EPA drew on the letter of credit and established a trust account in the amount of $800,000.
In September 2002, EPA withdrew $56,165 from the trust account for the Debtor’s share of
outstanding oversight costs due under the RI/FS order. The Debtor is liable for the United
States’ future RI/FS oversight costs, which the United States estimates will be at least $1 million.
The Debtor also is liable for future cleanup obligations at the site, including the cost of
conducting the RI/FS as required in the 1999 administrative order, which the United States
estimates will be at least $1.6 million, and the cost of groundwater remediation, which the United
States estimates will be between $10 million and $20 million. The remedial action for the site
also may include the remediation of contaminated soils and/or sediments. The United States’
response actions at the site are not inconsistent with the National Contingency Plan promulgated
pursuant to Section 105 of CERCLA, 42 U.S.C. § 9605, and set forth at 40 C.F.R. 9300, as
amended (“NCP”). Other PRPs along with the Debtor may also be jointly and severally liable to
the United States pursuant to CERCLA with respect to the cleanup of environmental

contamination at the site.
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2. Solvents Recovery Service of New England (Southington, Connecticut): The
Debtor is liable to the United States pursuant to CERCLA and an administrative order issued
under CERCLA in connection with the cleanup of environmental contamination at the Solvents
Recovery Service of New England (“SRSNE”) Site located in Southington, Connecticut. From
at least 1957 through 1991, a hazardous waste treatment, storage and disposal facility was located
at the site. There have been releases or threatened releases of hazardous substances at the site, as
groundwater is contaminated with VOCs, including isopropyl alcohol, acetone, and toluene and
soil is contaminated with lead, cadmium, polychlorinated biphenyls (“PCBs”) and VOCs. The
SRSNE Site is on the NPL. The Debtor is liable to the United States because it arranged for the
disposal of hazardous substances at the site. The Debtor is a party to several administrative
orders EPA has issued in connection with the site, including a 1997 administrative order with
approximately 500 PRPs to expand the groundwater treatment system and to conduct the RUFS
for the site. Work required under this order has not yet been completed. The Debtor is liable for
the United States’ unreimbursed response costs relating to the site of at least $11,859,984 as of
March 2001. The Debtor also is liable for future cleanup obligations at the site, which the United
States estimates will cost at least $18 million to complete. The United States’ response actions at
the site are not inconsistent with the NCP, Other PRPs along with the Debtor may also be jointly
and severally liable to the United States pursuant to CERCLA with respect to the cleanup of
environmental contamination at the SRSNE site.

3. Acton Plant Site (Acton, Massachusetts): The Debtor is liable to the United
States pursuant to CERCLA and a judicially-approved consent decree in connection with the
cleanup of environmental contamination at the Acton Plant Site located in Acton and Concord,
Massachusetts. Industrial operations have been located at the site for many years. There have

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been releases or threatened releases of hazardous substances at the site, as groundwater is
contaminated with VOCs and heavy metals, including lead, arsenic, chromium, iron, manganese
and nickel; sediments are contaminated with cadmium; and soils and sludges in disposal areas at
the site are contaminated primarily with arsenic, VOCs, including vinyl chloride, ethyl benzene,
benzene, 1,1 dichlorethylene, and bis(2-ethylhexy]). The Acton Plant Site is on the NPL, The
Debtor is liable to the United States because it owned and operated a facility at the site at the
time hazardous substances were disposed of and is the current owner and operator of the facility.
In 1980, EPA entered into a consent decree whereby the Court ordered the Debtor to undertake ‘
cleanup of the facility and to ensure restoration of the aquifer to a fully usable condition. Work
under this consent decree is on-going. The Debtor is liable for the United States’ unreimbursed
response costs relating to the site of at least $1,006,960 as of July 1, 2002. The Debtor also is
liable for future cleanup obligations at the site, which the United States estimates will cost at
least $40 million to complete. The United States’ response actions at the site are not inconsistent
with the NCP.

4, Cambridge Plant Site (Cambridge, Massachusetts): The Debtor is liable to the
United States pursuant to CERCLA in connection with the assessment of environmental
contamination at the Cambridge Plant Site in Cambridge, Massachusetts. Industrial operations
have been located at the site for many years. There have been releases or threatened releases of
hazardous substances at the site, as surface soils are contaminated with asbestos. The Debtor is
liable to the United States because it owned and operated a facility at the site at the time
hazardous substances were disposed of and is the current owner and operator of a portion of the
site. The Debtor is liable for the United States’ unreimbursed response costs relating to the site
of at least $120,000 as of July 1, 2002. The Debtor also is liable for any future cleanup

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obligations at the site. The United States’ response actions at the site are not inconsistent with
the NCP.

5. Wells G&H (Woburn, Massachusetts): The Debtor is liable to the United States
pursuant to CERCLA and a judicially-approved consent decree in connection with the cleanup of
environmental contamination at the Wells G&H Site in Woburn, Massachusetts, The site
includes the aquifer and land mass area located within the zone of contribution of two
contaminated municipal wells known as Wells G and H. There have been releases or threatened
releases of hazardous substances at the site, as groundwater is contaminated with VOCs,
including trichloroethylene (“TCE”) and tetrachloroethylene (“PCE”); sediments in the Aberjona
River are contaminated with polycyclic aromatic hydrocarbons (“PAHs”) and heavy metals; and
soils are contaminated with PAHs, PCBs, VOCs, and pesticides. The Wells G&H Site is on the
NPL. The Debtor is liable to the United States because it owns a facility that is a source of the
contamination at the site and operated the same facility at the time hazardous substances were
disposed of. In 1991, EPA entered into a consent decree with several entities that owned or
operated facilities that contributed to contamination at the site, including the Debtor, whereby
each entity agreed to clean up its property and to jointly conduct a study of the contamination in
the aquifer in the central area of the site. The Debtor is liable for the United States’
unreimbursed response costs relating to the site of at least $6,314,228 as of June 30, 2002, The
Debtor also is liable for future cleanup obligations at the site, including the cleanup and the study
that the consent decree requires (which the United States estimates will cost at least $5 million to
complete) and the cleanup of the central area of the site (which the United States estimates will
cost at least $28 million to complete). The United States’ response actions at the site are not
inconsistent with the NCP. Other PRPs along with the Debtor may also be jointly and severally

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liable to the United States pursuant to CERCLA with respect to the cleanup of environmental
contamination at the site.

6. Li Tungsten Site (Glen Cove, New York): The Debtor is liable to the United
States pursuant to CERCLA and administrative orders issued under CERCLA in connection with
the cleanup of environmental contamination at the Li Tungsten Site in Glen Cove, New York.
Industrial operations and an associated landfill have been located at the site for many years.
There have been releases or threatened releases of hazardous substances at the site, as the soil is
contaminated with low levels of radiation and heavy metals. The site is on the NPL. The Debtor
is liable to the United States because it arranged for the disposal of hazardous substances at the
site. The Debtor is liable for the United States’ unreimbursed response costs relating to the site
of at least $17 million through February 2003. The Debtor also is liable for future cleanup
obligations at the site, which the United States estimates will cost at least $30 million to
complete. The United States’ response actions at the site are not inconsistent with the NCP.
Other PRPs along with the Debtor may also be jointly and severally liable to the United States
pursuant to CERCLA with respect to the facility.

7. Zonolite/Grace Site (Hamilton Township, New Jersey): The Debtor is liable to
the United States pursuant to CERCLA in connection with the cleanup of environmental
contamination at the Zonolite/Grace Site in Hamilton Township, New Jersey. From at least 1950
to 1994, a vermiculite expansion plant was located at the site. There have been releases or
threatened releases of a hazardous substance at the site, as surface soils are contaminated with
asbestos. The Debtor is liable to the United States because it operated a facility at the site at the
time hazardous substances were disposed of at the site. The Debtor is liable for the United
States’ unreimbursed response costs relating to the site of at least $44,956.24 as of January 31,

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2003. The Debtor also is liable for future cleanup obligations at the site, which the United States
estimates will cost at least $1.9 million to complete. The United States’ response actions at the
site are not inconsistent with the NCP, Other PRPs along with the Debtor may also be jointly
and severally liable to the United States pursuant to CERCLA with respect to the cleanup of
environmental contamination at the site,

8. Central Chemical Site (Hagerstown, Maryland): The Debtor is liable to the
United States pursuant to CERCLA in connection with the cleanup of environmental
contamination at the Central Chemical Site in Hagerstown, Maryland. From the early 1930s
through the mid-1980s, a chemical plant was located at the site. There have been releases or
threatened releases of hazardous substances at the site, as soil, groundwater, surface water, and
sediments at the site are contaminated with arsenic, lead, benzene, aldrin, chlordane, DDD, DDE,
DDT, dieldrin and methoxychlor. The contamination extends beyond the facility property
boundaries onto adjacent property being developed for residential use. The site is on the NPL.
The Debtor is liable to the United States because it arranged for the disposal of hazardous
substances at the site. The Debtor is liable for the United States’ unreimbursed response costs
relating to the site of at least $457,485 as of August 2001. The Debtor also is liable for future
cleanup obligations at the site, which the United States estimates will cost at least $30 million to
complete. The United States’ response actions at the site are not inconsistent with the NCP.
Other PRPs along with the Debtor may also be jointly and severally liable to the United States
pursuant to CERCLA with respect to the cleanup of environmental contamination at the site.

9. Galaxy/Spectron Site (Elkton, Maryland): The Debtor is liable to the United
States pursuant to CERCLA in connection with the cleanup of environmental contamination at
the Galaxy/Spectron Site near Elkton, Maryland. From at least 1961 through 1988, a hazardous

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waste treatment, storage and disposal facility was located at the site. There have been releases or
threatened releases of hazardous substances at the site, as soil, surface water, and groundwater at
the site are heavily contaminated with chlorinated organic solvents. The Debtor is liable to the
United States because it arranged for the disposal of hazardous substances at a solvent recovery
facility at the site. The site is on the NPL. The Debtor is liable for the United States’
unreimbursed response costs relating to the site of at least $1,108,922 as of September 2002.
The Debtor also is liable for future cleanup obligations at the site, which the United States
estimates will cost at least $16 million to complete. The United States’ response actions at the
site are not inconsistent with the NCP. Other PRPs along with the Debtor may also be jointly
and severally liable to the United States pursuant to CERCLA with respect to the cleanup of
environmental contamination at the site.

10. Watson Johnson Landfill Site (Richland Township, Pa): The Debtor is liable to
the United States pursuant to CERCLA in connection with the cleanup of environmental
contamination at the Watson Johnson Landfill Site in Richland Township, Pennsylvania. From
the 1950s until the early 1970s, an industrial and municipal landfill was located at the site. There
have been releases or threatened releases of hazardous substances at the site, as soil is
contaminated with VOCs, semi-volatile compounds, PCBs, and metals; groundwater is
contaminated with tetrachloromethane and TCE; and sediments are contaminated with metals
and PCBs. Moreover, sampling of nearby residential wells has revealed elevated levels of
arsenic and TCE in some home wells and mercury has been found in sediments downstream of
the site. The site is on the NPL. The Debtor is liable to the United States because it arranged for
the disposa} of hazardous substances at the site. The Debtor is liable for the United States’
unreimbursed response costs relating to the site of at least $836,012 as of September 2002. The

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Debtor also is liable for future cleanup obligations at the site, which the United States estimates
will cost at least $8.75 million to complete. The United States’ response actions at the site are
not inconsistent with the NCP. Other PRPs along with the Debtor may also be jointly and
severally liable to the United States pursuant to CERCLA with respect to the environmental
contamination at the site.

11. Zonolite/Grace Site (Ellwood City, Pa): The Debtor is liable to the United States
pursuant to CERCLA in connection with the cleanup of environmental contamination at the
Zonolite/Grace Site in Ellwood City, Pennsylvania. From 1953 through 1969, a vermiculite
expansion facility was located at the site. There have been releases or threatened releases of a
hazardous substance at the site, as surface soil is contaminated with asbestos. The Debtor is
liable to the United States because it owned and operated a facility at the site at the time
hazardous substances were disposed of at the site. The Debtor is liable for the United States’
unreimbursed response costs relating to the site of at least $50,953.23 as of October 2002. The
Debtor also is liable for future cleanup obligations at the site, which the United States estimates
will cost at least $200,000 to complete. The United States’ response actions at the site are not
inconsistent with the NCP. Other PRPs along with the Debtor may also be jointly and severally
liable to the United States pursuant to CERCLA with respect to the environmental contamination
at the site.

12. Zonolite/Grace Site (Prince George’s County, Md) The Debtor is liable to the
United States pursuant to CERCLA in connection with the cleanup of environmental
contamination at the Zonolite/Grace Site, in Beltsville, Maryland. From 1966 through the early
1990s, a vermiculite expansion facility was located at the site. There have been releases or
threatened releases of a hazardous substance at the site, as soils at the site are contaminated with

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asbestos. The Debtor is liable to the United States because it owned and operated a facility at the
site at the time hazardous substances were disposed of. The Debtor is liable for the United
States’ unreimbursed response costs relating to the site of at least $54,109.41 as of October 2002.
The Debtor also is liable for future cleanup obligations at the site, which the United States
estimates will cost at least $50,000 to complete. The United States’ response actions at the site
are not inconsistent with the NCP. Other PRPs along with the Debtor may also be jointly and
severally liable to the United States pursuant to CERCLA with respect to the environmental
contamination at the facility.

13. Zonolite/Grace Site (New Castle, Pa): The Debtor is liable to the United States

pursuant to CERCLA in connection with the cleanup of environmental contamination at the
Zonolite/Grace Site in New Castle, Pennsylvania. From 1968 through 1992, a vermiculite
expansion facility was located at the site. There has been a release or threatened release ofa
hazardous substance at the site, as soils at the site are contaminated with asbestos. The Debtor is
liable to the United States because it owned and operated a facility at the site at the time
hazardous substances were disposed of at the facility. The Debtor is liable for the United States’ _
unreimbursed response costs relating to the site of at least $28,764.86 as of October 2002. The
Debtor also is liable for future cleanup obligations at the site, which the United States estimates
will cost at least $500,000 to complete. The United States’ response actions at the site are not
inconsistent with the NCP. Other PRPs along with the Debtor may also be jointly and severally
liable to the United States pursuant to CERCLA with respect to environmental contamination at
the site,

14. Aqua-Tech Environmental Site (Greer, South Carolina): The Debtor is liable to
the United States pursuant to CERCLA and an administrative order issued under CERCLA in

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connection with the cleanup of environmental contamination at the Aqua-Tech Environmental
Site near Greer, South Carolina. A hazardous waste treatment, storage and disposal facility was
located at the site. There have been releases or threatened releases of hazardous substances at the
site, as soil, surface water and groundwater at the site are contaminated with various VOCs and
metals, including cadmium, chromium, cobalt, lead, mercury, nickel, and zinc. The site is on the
NPL. The Debtor is liable to the United States because it arranged for the disposal of hazardous
substances at the site. In 1995, EPA entered into an administrative order with approximately 90
PRPs, including the Debtor, who agreed to perform the RI/FS for the site and to reimburse EPA
for its oversight costs. Work under this order is not yet complete. The Debtor is liable for the
United States’ unreimbursed response costs relating to the site of at least $1,625,813 as of
November 2002. The Debtor also is liable for future cleanup obligations at the site, which the
United States estimates will cost at least $12 million to complete. The United States’ response
actions at the site are not inconsistent with the NCP. Other PRPs along with the Debtor may also
be jointly and severally liable to the United States pursuant to CERCLA with respect to the
environmental contamination at the site.

15. Green River Disposal Site (Maceo, Kentucy): The Debtor is liable to the United
States pursuant to CERCLA and administrative orders issued under CERCLA in connection with
the cleanup of environmental contamination at the Green River Disposal Site near Owensboro,
Kentucky. From 1970 through 1984, an industrial and municipal! landfill was located at the site.
There have been releases or threatened releases of hazardous substances at the site, as
groundwater at the site is contaminated with barium, beryllium, cadmium and manganese. The
site is on the NPL. The Debtor is liable to the United States because it arranged for the disposal
of hazardous substances at the site. The Debtor was a party to two administrative orders issued

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by EPA in connection with this site. In 1990, EPA issued an order requiring four PRPs,
including the Debtor, to initiate cleanup work at the site. Also in 1990, EPA entered into an
administrative order whereby four PRPs, including the Debtor, agreed to perform the RI/FS for
the site. The Debtor is liable for the United States’ unreimbursed response costs relating to the
site of at least $453,315 as of March 2002. The Debtor also is liable for future cleanup
obligations at the site, which the United States estimates will cost at least $3.5 million to
complete, The United States’ response actions at the site are not inconsistent with the NCP.
Other PRPs along with the Debtor may also be jointly and severally liable to the United States
pursuant to CERCLA with respect to environmental contamination at the site.

16. W.R. Grace Site (Wilder, Kentucky): The Debtor is liable to the United States
pursuant to CERCLA in connection with the cleanup of environmental contamination at the
W.R. Grace Site in Wilder, Kentucky. From 1953 until the mid-1990s a vermiculite expansion
facility was located at the site. There have been releases or threatened releases of a hazardous
substance at the site, as soils at the site are contaminated with asbestos. The Debtor is liable to
the United States because it owned and operated a facility on the site at the time hazardous
substances were disposed of at the site. The Debtor is liable for the United States’ unreimbursed
response costs relating to the site of at least $28,343.39 as of July 2002. The Debtor also is liable
for future cleanup obligations at the site, which the United States estimates will cost at least $2.1
million to complete. The United States’ response actions at the site are not inconsistent with the
NCP. Other PRPs along with the Debtor may also be jointly and severally liable to the United
States pursuant to CERCLA with respect to environmental contamination at the site.

17. Reclamation Oil Site (Detroit, Michigan): The Debtor is liable to the United
States pursuant to CERCLA in connection with the cleanup of environmental contamination at

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the Reclamation Oil Site in Detroit, Michigan. The site is an abandoned waste treatment, storage
and disposal facility. There have been releases or threatened releases of hazardous substances at
the site, as (among other things) sampling of abandoned storage containers indicated the presence
of VOCs and semi-VOCs and at least one container had high levels of PCBs. The Debtor is
liable to the United States because it arranged for the disposal of hazardous substances at the site.
The Debtor is liable for the United States’ unreimbursed response costs relating to the site of at
least $4,469,704 as of June 2002. The Debtor also is liable for any future cleanup obligations at
the site. The United States’ response actions at the site are not inconsistent with the NCP. Other
PRPs along with the Debtor may also be jointly and severally liable to the United States pursuant
to CERCLA with respect to environmental contamination at the site.

18. Western Minerals Products Site (Minneapolis, Minnesota): The Debtor is liable
to the United States pursuant to CERCLA in connection with the cleanup of environmental
contamination at the Western Minerals Products Site in Minneapolis, Minnesota. From 1946
through 1989, a vermiculite expansion facility was located at the site. The site includes
residential properties near the vermiculite expansion facility at which asbestos-containing
materials were disposed of. There have been releases or threatened releases of a hazardous
substance at the site, as soil and dust at the site are contaminated with asbestos. The Debtor is
liable to the United States because it owned and operated a facility at the site at the time
hazardous substances were disposed of at the site and arranged for the disposal of asbestos-
contaminated material at portions of the site. The Debtor is liable for the United States’
unreimbursed response costs relating to the site of at least $6,907,445.90 as of January 31, 2003.
The Debtor also is liable for future cleanup obligations at the site, which the United States
estimates will cost at least $1 million to complete. The United States’ response actions at the site

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are not inconsistent with the NCP. Other PRPs along with the Debtor may also be liable to the
United States pursuant to CERCLA with respect to environmental contamination at portions of
the site.

19. R&H Oil/Tropicana (San Antonio, Texas): The Debtor is liable to the United
States pursuant to CERCLA in connection with the cleanup of environmental contamination at
the R&H Oil/Tropicana Site in San Antonio, Texas. The site was used as a refinery and gasoline
blending facility, and spent oils were reprocessed on a portion of the site. There have been
releases or threatened releases of hazardous substances at the site, as groundwater at the site is
contaminated with benzene, toluene, ethylbenzene, naphthalene, xylenes, arsenic, barium and
zinc. The site has been proposed for inclusion on the NPL. The Debtor is liable to the United
States because it arranged for the disposal of hazardous substances at the site. The Debtor is
liable for the United States’ unreimbursed response costs relating to the site of at least
$1,556,174 as of November 2002. The Debtor also is liable for future cleanup obligations at the
site, which the United States estimates will cost at least $11,640,000 to complete. The United
States’ response actions at the site are not inconsistent with the NCP. Other PRPs along with the
Debtor may also be jointly and severally liable to the United States pursuant to CERCLA with
respect to environmental contamination at the site.

20. Intermountain Insulation Site (Salt Lake City, Utah): The Debtor is liable to the
United States pursuant to CERCLA in connection with the cleanup of environmental
contamination at the Intermountain Insulation Site in Salt Lake City, Utah. From 1984 through
1988, a vermiculite expansion plant was located at the site. There have been releases or

threatened releases of a hazardous substance at the site, as soils at the site are contaminated with

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asbestos. The Debtor is liable to the United States because it was an operator of a facility at the
site at the time hazardous substances were disposed of at such facility. The Debtor is liable for
the United States’ unreimbursed response costs relating to the site of at least $5,000 as of January
31, 2003. The Debtor also is liable for any future cleanup obligations at the site. The United
States’ response actions at the site are not inconsistent with the NCP. Other PRPs along with the
Debtor may also be jointly and severally liable to the United States pursuant to CERCLA with
respect to environmental contamination at the site. .

21. Libby Asbestos Site (Libby, Montana): The Debtor is liable to the United States
pursuant to CERCLA, an administrative order issued pursuant to CERCLA, and a judicial
consent decree in connection with the cleanup of environmental contamination at the Libby
Asbestos Site in and near Libby, Montana. The site includes the Debtor’s former vermiculite
mine and processing facilities in Libby and nearby properties on which asbestos-containing
materials were disposed. There have been releases or threatened releases of a hazardous
substance at the site, as soil and dust at the site are contaminated with asbestos. The Debtor is
liable to the United States because it owned and operated a facility at the site at the time
hazardous substances were disposed of at the site and arranged for the disposal of asbestos-
containing material at portions of the site. In addition, in May 2000, EPA issued an
administrative order to the Debtor whereby the Debtor was required to perform cleanup of a
former vermiculite processing facility known as the Export Plant. This work is ongoing. The
Debtor is liable for the United States’ (through the EPA) unreimbursed response costs relating to
the site of at least $81,979,000 as of January 31, 2003. The Debtor also is liable for the response

costs that the United States (through the EPA) will incur in the future, which the United States

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estimates will be at least $46 million. Finally, the Debtor is liable for the response costs that the
United States (through the Forest Service) will incur in the future for cleanup of Forest Service
roads on and near the Debtor’s former vermiculite mine, which the United States estimates will
be at least $2.2 million, and for the cleanup of asbestos-contaminated Forest Service property
along the Kootenai River, which the United States estimates will be several million dollars.
Some or all of the future response costs the United States claims on behalf of the Forest Service
regarding the Libby Asbestos Site may overlap the future response costs the United States claims
on behalf of EPA for the site. The United States’ response actions at the site are not inconsistent
with the NCP. The Debtor’s liability for response costs incurred by the United States (through
EPA) at the Libby Asbestos Site, and the amount of such costs, is the subject of a lawsuit styled
United States v. W.R. Grace & Company-Conn., et al., Case No. 01-72-M-DWM (D. Mont.).
22. Libby Asbestos Site (Access): The Debtor also is liable to the United States for
its unlawful failure to provide EPA with requested access to certain Libby Asbestos Site
properties in 2000 to effectuate cleanup activities. The United States’ penalty claim related to
the Debtor’s failure to provide access has been resolved in a consent decree in the lawsuit styled

United States v. W.R. Grace & Company et al., Case No. 00-167-M-DWM (D. Mont.), in which

the Debtor (along with Debtor Kootenai Development Company) agreed that the United States
would be allowed a general unsecured claim in the amount of $71,000 and agreed to perform a
supplemental environmental project providing $2,750,000 for a Montana non-profit corporation
to establish and administer a program to pay for medical care for certain asbestos related
illnesses. The consent decree was approved by both the Montana District Court and the

Bankruptcy Court.

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23. Libby Asbestos Site Material Recipients (Nationwide Investigation): The Debtor

also is liable for the Agency for Toxic Substance and Disease Registry’s (“ATSDR”)
investigations and health consultations at facilities throughout the country that received asbestos-
contaminated vermiculite from the Libby mine. With respect to investigations and health
consultations at sites that are specifically addressed elsewhere in this Proof of Claim, the costs of
these activities are included in the unreimbursed response cost amount for those sites.
Nationwide investigatory costs and costs of investigations and health consultations at sites that
are not included elsewhere in this Proof of Claim total $1,791,164.

24. RAMP Industries Site (Denver, Colorado): The Debtor is liable to the United
States pursuant to CERCLA and a judicial consent decree in connection with the cleanup of
environmental contamination at the RAMP Industries Site in Denver, Colorado. The site was
formerly the location of a processing and disposal facility for low level radioactive wastes, mixed
wastes (a mixture of hazardous and radioactive waste), various items contaminated with
radioactive materials, and medical wastes. There have been releases or threatened releases of
hazardous substances at the site, as approximately 5,000 fifty-five gallon drums containing
(among other things) trichloroethane, tetrachloroethylene, methylene chloride, acetone, ethyl
benzene, toluene, and methanol mixed with radioactive isotopes were abandoned at the site. The
Debtor is liable to the United States because it arranged for the disposal of hazardous substances
at the site. In a federal district court action styled United States v. AAI Corporation, Case No.
00-N-1909 (D. Colo.), the Debtor (and numerous other entities) executed a consent decree with
the United States that was entered by the court on April 4, 2001. Under the terms of this consent

decree the Debtor agreed and was ordered by the Court to pay $7,203.73 to the United States.

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The Debtor has not complied with this order and is therefore liable to the United States for this
amount.

25. Robinson Insulation (Minot, North Dakota): The Debtor is liable to the United
States pursuant to CERCLA in connection with the cleanup of environmental contamination at
the Robinson Insulation Site. From 1947 through 1993 a vermiculite expansion plant was
located at the site. There have been releases or threatened releases of a hazardous substance at
the site, as soils at the site are contaminated with asbestos. The Debtor is liable to the United
States because it was an operator of a facility at the site at the time hazardous substances were
disposed of at the site. The Debtor is liable for the United States’ unreimbursed response costs
relating to the site of at least $1,416,000 as of December 2002. The Debtor also is liable for
future cleanup obligations at the site, which the United States estimates will cost at least $50,000
to complete. The United States’ response actions at the site are not inconsistent with the NCP.

26.  Vermiculite Intermountain Site (Salt Lake City, Utah): The Debtor is liable to the
United States pursuant to CERCLA in connection with the cleanup of environmental
contamination at the Vermiculite Intermountain Site in Salt Lake City. From 1940 through at
least the late 1980s, a vermiculite expansion plant was located at the site. There have been
releases or threatened releases of a hazardous substance at the site, as soils at the site are
contaminated with asbestos. The Debtor is liable to the United States because it was an operator
of a facility at the site at the time hazardous substances were disposed of at such facility. The
Debtor is liable for the United States’ unreimbursed response costs relating to the site of at least

$5,000 as of January 31, 2003. The Debtor also is liable for future cleanup obligations at the site,

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which the United States estimates will cost at least $300,000 to complete. The United States’
response actions at the site are not inconsistent with the NCP.

27. | Western Mineral Processing Site (Denver, Colorado): The Debtor is liable to the
United States pursuant to CERCLA in connection with the cleanup of environmental
contamination at the Western Mineral Processing Site in Denver, Colorado. From 1967 through
1988, a vermiculate expansion plant was located at the site. There have been releases or
threatened releases of a hazardous substance at the site, as soils at the site are contaminated with
asbestos. The Debtor is liable to the United States because it owned and operated a facility at the
site at the time hazardous substances were disposed of at such facility. The Debtor is liable for
the United States’ unreimbursed response costs relating to the site of at least $296,863.07 as of
December 2002. The Debtor also is liable for future cleanup obligations at the site, which the
United States estimates will cost at least $650,000 to complete. The United States’ response
actions at the site are not inconsistent with the NCP.

28.  Casmalia Resources (Santa Barbara, California): The Debtor is liable to the
United States pursuant to CERCLA in connection with the cleanup of environmental
contamination at the Casmalia Resources Site in Santa Barbara County, California. The site is a
former hazardous waste disposal facility. There have been releases or threatened releases of
hazardous substances at the site, as landfills on the site have been found to contain industrial and
commercial wastes including sludges, pesticides, solvents, acids, metals, caustics, cyanide and
non-liquid polychlorinated biphenyls. The site is on the NPL. The Debtor is liable to the United
States because it arranged for the disposal of hazardous substances at the site. The Debtor is

liable for the United States’ unreimbursed response costs relating to the site of at least $38

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million. The Debtor also is liable for future cleanup obligations at the site, which the United
States estimates will cost at least $265 million to complete. The United States’ response actions
at the site are not inconsistent with the NCP. Other PRPs along with the Debtor may also be
jointly and severally liable to the United States pursuant to CERCLA with respect to the facility.

29, Harrington Tools Site (Glendale, Ca): The Debtor is liable to the United States
pursuant to CERCLA in connection with the cleanup of environmental contamination at the
Harrington Tools Site in Glendale, California. From at least 1966 through 1976, a vermiculite
expansion plant was located at the site. There have been releases or threatened releases of a
hazardous substance at the site, as soils at the site are contaminated with asbestos. The Debtor is
liable to the United States because it owned and operated a facility at the site at the time
hazardous substances were disposed of at the site. The Debtor is liable for the United States’
unreimbursed response costs relating to the site of at least $29,825.82 as of October 2002. The
Debtor also is liable for any future cleanup obligations at the site. The United States’ response
actions at the site are not inconsistent with the NCP.

30. Operating Industries Inc. Site (Monterey Park, California): The Debtor is liable to
the United States pursuant to CERCLA and a judicially-approved consent decree in connection
with the cleanup of environmental contamination at the Operating Industries Inc. Site in
Monterey Park, California. From 1948 through 1984 a landfill was located at the site. There
have been releases or threatened releases of hazardous substances at the site, as groundwater,
soil, and leachate at the site are contaminated with various organic and inorganic compounds.
The Debtor is liable to the United States because it arranged for the disposal of hazardous

substances at the site. The major response actions to date at the site have been performed by

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PRPs under a series of consent decrees and administrative orders, including the Third Partial
Consent Decree in which the Debtor and other PRPs agreed to participate as work defendants for
the site, which was entered by the District Court in 1992 in a case styled United States v.
Chevron Chemical Company, et al., Case No. CV 91-6520 MRP (Kx) (C.D. Cal.). The Debtor is
liable for future cleanup obligations relating to the site, including work required under the Third
Partial Consent Decree. The Debtor also is liable to the United States for all unreimbursed
response costs incurred and to be incurred by the United States in connection with the site
(except to the extent the covenant not to sue in the Third Partial Consent Decree limits the
Debtor’s liability for certain of the costs), which the United States currently estimates at $50
million. The United States’ response actions at the site are not inconsistent with the NCP. Other
PRPs along with the Debtor may also be jointly and severally liable to the United States pursuant
to CERCLA with respect to the facility.

31.  Vermiculite Northwest Site (Spokane): The Debtor is liable to the United States
pursuant to CERCLA in connection with the cleanup of environmental contamination at the
Vermiculite Northwest Site in Spokane, Washington. From 1951 through 1974, a vermiculite
expansion facility was located at the site. There have been releases or threatened releases of a
hazardous substance at the site, as soils at the site are contaminated with asbestos. The Debtor is
liable to the United States because it owned and operated a facility at the site at the time
hazardous substances were disposed of at such facility. The Debtor is liable for the United
States’ unreimbursed response costs relating to the site of at least $77,285.52 as of March 2003.
The Debtor also is liable for any future cleanup obligations at the site. The United States’

response actions at the site are not inconsistent with the NCP.

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32. Curtis Bay Site (Baltimore, Maryland); The Debtor is liable to the United States
pursuant to CERCLA in connection with the cleanup of environmental contamination at the
Curtis Bay Site in Baltimore, Maryland. From approximately 1957 through 1960, radioactive
materials were processed and disposed of at the site, There have been releases or threatened
releases of a hazardous substance at the site, as soils at the site are contaminated with radioactive
material (including thorium and uranium compounds). The Debtor is liable to the United States
because it owned and operated a facility at the site at the time hazardous substances were
disposed of at such facility and is the current owner and operator of the site. The Debtor is liable
for the United States’ (through the Army Corps of Engineers) unreimbursed response costs
relating to the site of approximately $6 million as of November 2002. The Debtor also is liable
for the response costs that the United States will incur in the future, which the United States
estimates will be between $66 million and $96 million. The United States’ response actions at
the site are not inconsistent with the NCP.

INJUNCTIVE OBLIGATIONS UNDER ENVIRONMENTAL STATUTES

33, The Debtor has injunctive obligations to comply with environmental requirements
applicable to its facilities. These obligations include but are not limited to obligations to perform
environmental assessment and clean up work under the consent decrees and administrative orders
issued pursuant to CERCLA and discussed above in connection with the following sites: the _
Acton Plant Site, located in Acton, Massachusetts, and the Wells G&H Site, located in Woburn,
Massachusetts. Further, the Debtor is obligated to perform environmental assessment and
remediation work under other consent decrees and administrative orders issued by the EPA under

environmental laws and regulations other than CERCLA, including but not limited to the

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following facilities: the Hatco Chemical facility in Fords, New Jersey; the W.R. Grace thorium
facility, located at 4000 North Hawthome Street in Chattanooga, Tennessee; the W.R. Grace
Agricultural Chemical site in Charleston, South Carolina, and all other orders referenced in the
Debtor’s response to Question 17 (c) in its Statement of Financial Affairs, as amended, The
Debtor may have other injunctive obligations to remedy environmental violations and or releases
of hazardous materials at its facilities, including but not limited to the violations and release of
hazardous materials at sites owned by the Debtor as listed in its response to Questions 17(a) and
17(b) of its Statement of Financial Affairs, amended.

34, The Debtor also has injunctive obligations under consent decrees and
administrative orders issued pursuant to CERCLA to perform environmental assessment and
remediation work at certain sites not owned by Debtor including the following sites: the Libby
Asbestos Site, located in Libby, Montana; the Blackburn & Union Privileges Site in Walpole,
Massachusetts; the Solvents Recovery Service of New England Site in Southington, Connecticut;
the Li Tungsten Site in Glen Cove, New York; the Aqua-Tech Environmental Site in Greer,
South Carolina; and the Operating Industries Inc. Site in Monterey Park, California. The Debtor
is required to perform these obligations.

35. It is the United States’ position that it is not required to file a proof of claim with
respect to the Debtor’s injunctive obligations to comply with work requirements under consent
decrees and administrative orders, and to comply with other environmental requirements
imposed by law. The Debtor and any reorganized debtor(s) must comply with the mandatory
injunctive requirements of any consent decrees and administrative orders, and must comply with

any other environmental requirements imposed by law.

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36. Court ordered and regulatory obligations are mandatory injunctive obligations
with which the Debtor must comply, and for which proofs of claim need not be filed under the
Bankruptcy Code. Nevertheless, this claim is filed in a protective fashion only for the court
ordered and regulatory obligations identified above to protect the United States’ rights with
respect to any such obligations of the Debtor. The United States reserves the right to take future
actions to enforce any such obligations of the Debtor. Nothing in this Proof of Claim constitutes
a waiver of any rights of the United States or an election of remedies.

ADDITIONAL PROOF OF CLAIM TERMS

37. This Proof of Claim asserts claims for the known liability of the Debtor to the
United States on behalf of EPA, the Forest Service, and the Army Corps of Engineers. The
United States reserves the right to amend this claim to assert subsequently discovered liabilities,
or to update the amounts of the claims set forth above.

38. The United States has not perfected any security interest on its claims against the
Debtor, although the United States does reserve all rights to the extent it has a trust interest in
insurance proceeds with respect to any matters covered by this Proof of Claim and.to the extent
of any rights provided in provisions of administrative orders or consent decrees issued to or with
the Debtor relating.to financial assurance. The United States is entitled to administrative expense
priority, and may file an administrative expense application at the appropriate time, for the cost
of post-petition response actions with respect to property of the estate, the cost of complying with
the Debtor’s injunctive obligations, and for any post-petition penalties. The remainder of the

United States’ claim is filed as a general unsecured claim.

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39. This claim is without prejudice to any right under 11 U.S.C. § 553 to set off,
against this claim, debts owed (if any) to the Debtor by the United States or any agency or
instrumentality of the United States.

40. No judgments have been rendered on the claims asserted herein, except that there
have been administrative orders and consent decrees issued related to certain of the claims as
indicated herein.

41, No payments to the United States have been made by the Debtor on these claims,
except as provided herein.

42. This Proof of Claim includes claims for all prejudgment interest on all response
costs incurred pursuant to CERCLA as allowed by law.

43. References to actions taken by the Debtor include actions taken by predecessors-
in-interest of the Debtor.

Dated this 27 day of March, 2003.

Respectfully submitted,

CATHERINE MCCABE

Deputy Chief

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